Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 1 of 9

   CASE NO.:




                                  EXHIBIT I




                                                          27



        www.royblack.com | 201 S. Biscayne Boulevard Suite 1300 Miami , FL 33131 | p 305.371.6421 f 305-358-2006
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 2 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 3 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 4 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 5 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 6 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 7 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 8 of 9
Case 0:21-cv-61654-WPD Document 1-13 Entered on FLSD Docket 08/10/2021 Page 9 of 9
